                 Case 6:24-bk-13602-SY                            Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                       Desc
                                                                  Main Document Page 1 of 70
 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

             Central District of California

 Case number (If known):                           Chapter you are filing under:
                                                   ✔
                                                   ❑       Chapter 7
                                                   ❑       Chapter 11
                                                   ❑
                                                                                                                                          ❑ Check if this is an
                                                           Chapter 12
                                                   ❑       Chapter 13
                                                                                                                                              amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                          12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Saira
       Write the name that is on your         First name                                                      First name
       government-issued picture
                                               Yamilet
       identification (for example, your
                                              Middle name                                                     Middle name
       driver’s license or passport).
                                               Chevez
       Bring your picture identification      Last name                                                       Last name
       to your meeting with the trustee.

                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have                Saira
       used in the last 8 years               First name                                                      First name

       Include your married or maiden
                                               Y
       names and any assumed, trade           Middle name                                                     Middle name
       names and doing business as             Chevez
       names.                                 Last name                                                       Last name
       Do NOT list the name of any
       separate legal entity such as a
       corporation, partnership, or LLC       Business name (if applicable)                                   Business name (if applicable)
       that is not filing this petition.
                                              Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                              xxx - xx - 1           5    1   8                               xxx - xx -
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number
                                              9xx - xx -                                                      9xx - xx -
       (ITIN)




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
                 Case 6:24-bk-13602-SY                      Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                         Desc
                                                            Main Document Page 2 of 70
 Debtor 1            Saira               Yamilet                     Chevez                                         Case number (if known)
                     First Name          Middle Name                 Last Name


                                          About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification
                                                      -                                                               -
       Number (EIN), if any.              EIN                                                             EIN


                                                      -                                                               -
                                          EIN                                                             EIN




                                                                                                          If Debtor 2 lives at a different address:
  5.   Where you live
                                          2303 Lincoln Dr
                                          Number            Street                                        Number           Street




                                          Sn Bernrdno, CA 92405-3125
                                          City                                   State    ZIP Code        City                                  State     ZIP Code

                                          San Bernardino
                                          County                                                          County

                                          If your mailing address is different from the one above,        If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to   it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                    at this mailing address.


                                          Number            Street                                        Number           Street



                                          P.O. Box                                                        P.O. Box



                                          City                                   State    ZIP Code        City                                  State     ZIP Code




  6.   Why you are choosing this          Check one:                                                      Check one:
       district to file for bankruptcy
                                          ✔ Over the last 180 days before filing this petition, I
                                          ❑                                                               ❑ Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other            have lived in this district longer than in any other
                                                 district.                                                       district.

                                          ❑ I have another reason. Explain.                               ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                          (See 28 U.S.C. § 1408)




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
                Case 6:24-bk-13602-SY                  Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                      Desc
                                                       Main Document Page 3 of 70
 Debtor 1           Saira              Yamilet                 Chevez                                         Case number (if known)
                    First Name         Middle Name             Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ✔
                                       ❑     Chapter 7
                                       ❑     Chapter 11
                                       ❑     Chapter 12
                                       ❑     Chapter 13



  8.   How you will pay the fee        ✔ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                       ❑
                                           details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                           check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                           a credit card or check with a pre-printed address.

                                       ❑ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                           to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                           judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                           official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                           choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                           103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑ Yes. District
       within the last 8 years?
                                                                                                When                       Case number
                                                                                                       MM / DD / YYYY

                                                 District                                       When                       Case number
                                                                                                       MM / DD / YYYY

                                                 District                                       When                       Case number
                                                                                                       MM / DD / YYYY




  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes. Debtor
       pending or being filed by a
       spouse who is not filing this                                                                                    Relationship to you
       case with you, or by a
       business partner, or by an                District                                     When                      Case number, if known
       affiliate?                                                                                    MM / DD / YYYY


                                                 Debtor                                                                 Relationship to you

                                                 District                                     When                      Case number, if known
                                                                                                     MM / DD / YYYY




  11. Do you rent your residence?      ❑ No. Go to line 12.
                                       ✔ Yes. Has your landlord obtained an eviction judgment against you?
                                       ❑
                                              ✔ No. Go to line 12.
                                              ❑
                                              ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                       as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 3
                Case 6:24-bk-13602-SY                      Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                      Desc
                                                           Main Document Page 4 of 70
 Debtor 1           Saira                  Yamilet                 Chevez                                         Case number (if known)
                    First Name             Middle Name             Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ✔ No. Go to Part 4.
                                           ❑
                                           ❑ Yes. Name and location of business
      any full- or part-time
      business?

      A sole proprietorship is a
      business you operate as an               Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.        Number         Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.
                                               City                                                State            ZIP Code

                                               Check the appropriate box to describe your business:

                                               ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ❑ None of the above

  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      11 of the Bankruptcy Code,           proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business
      and are you a small business         debtor or you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement
      debtor or a debtor as defined        of operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      by 11 U.S. C. § 1182(1)?             procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔ No.
                                           ❑             I am not filing under Chapter 11.

                                           ❑ No.
      debtor, see 11 U.S.C. §
      101(51D).                                          I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                         Bankruptcy Code.

                                           ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑ Yes.        I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy
                                                         Code, and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                Case 6:24-bk-13602-SY                   Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                Desc
                                                        Main Document Page 5 of 70
 Debtor 1           Saira               Yamilet                 Chevez                                       Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔ No.
                                        ❑
                                        ❑ Yes.
      property that poses or is
      alleged to pose a threat of                 What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                  If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                  Where is the property?
                                                                              Number        Street




                                                                              City                                          State     ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                   page 5
                Case 6:24-bk-13602-SY                   Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                      Desc
                                                        Main Document Page 6 of 70
 Debtor 1           Saira               Yamilet                 Chevez                                         Case number (if known)
                    First Name          Middle Name             Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                            You must check one:
      receive a briefing about credit
      counseling before you file for    ✔ I received a briefing from an approved credit
                                        ❑                                                              ❑ I received a briefing from an approved credit
      bankruptcy. You must truthfully       counseling agency within the 180 days before I                 counseling agency within the 180 days before I
      check one of the following            filed this bankruptcy petition, and I received a               filed this bankruptcy petition, and I received a
      choices. If you cannot do so,         certificate of completion.                                     certificate of completion.
      you are not eligible to file.
                                            Attach a copy of the certificate and the payment               Attach a copy of the certificate and the payment
      If you file anyway, the court         plan, if any, that you developed with the agency.              plan, if any, that you developed with the agency.
      can dismiss your case, you will
      lose whatever filing fee you      ❑ I received a briefing from an approved credit                ❑ I received a briefing from an approved credit
      paid, and your creditors can          counseling agency within the 180 days before I                 counseling agency within the 180 days before I
      begin collection activities           filed this bankruptcy petition, but I do not have a            filed this bankruptcy petition, but I do not have a
      again.                                certificate of completion.                                     certificate of completion.
                                            Within 14 days after you file this bankruptcy petition,        Within 14 days after you file this bankruptcy petition,
                                            you MUST file a copy of the certificate and payment            you MUST file a copy of the certificate and payment
                                            plan, if any.                                                  plan, if any.
                                        ❑ I certify that I asked for credit counseling services        ❑ I certify that I asked for credit counseling services
                                            from an approved agency, but was unable to                     from an approved agency, but was unable to
                                            obtain those services during the 7 days after I                obtain those services during the 7 days after I
                                            made my request, and exigent circumstances                     made my request, and exigent circumstances
                                            merit a 30-day temporary waiver of the                         merit a 30-day temporary waiver of the
                                            requirement.                                                   requirement.
                                            To ask for a 30-day temporary waiver of the                    To ask for a 30-day temporary waiver of the
                                            requirement, attach a separate sheet explaining                requirement, attach a separate sheet explaining
                                            what efforts you made to obtain the briefing, why you          what efforts you made to obtain the briefing, why you
                                            were unable to obtain it before you filed for                  were unable to obtain it before you filed for
                                            bankruptcy, and what exigent circumstances                     bankruptcy, and what exigent circumstances
                                            required you to file this case.                                required you to file this case.

                                             Your case may be dismissed if the court is                     Your case may be dismissed if the court is
                                             dissatisfied with your reasons for not receiving a             dissatisfied with your reasons for not receiving a
                                             briefing before you filed for bankruptcy.                      briefing before you filed for bankruptcy.

                                             If the court is satisfied with your reasons, you must          If the court is satisfied with your reasons, you must
                                             still receive a briefing within 30 days after you file.        still receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency,          You must file a certificate from the approved agency,
                                             along with a copy of the payment plan you                      along with a copy of the payment plan you
                                             developed, if any. If you do not do so, your case may          developed, if any. If you do not do so, your case may
                                             be dismissed.                                                  be dismissed.

                                             Any extension of the 30-day deadline is granted only           Any extension of the 30-day deadline is granted only
                                             for cause and is limited to a maximum of 15 days.              for cause and is limited to a maximum of 15 days.
                                        ❑ I am not required to receive a briefing about credit         ❑ I am not required to receive a briefing about credit
                                            counseling because of:                                         counseling because of:
                                            ❑ Incapacity. I have a mental illness or a mental              ❑ Incapacity. I have a mental illness or a mental
                                                               deficiency that makes me                                      deficiency that makes me
                                                               incapable of realizing or making                              incapable of realizing or making
                                                               rational decisions about finances.                            rational decisions about finances.
                                            ❑ Disability.      My physical disability causes me            ❑ Disability.     My physical disability causes me
                                                               to be unable to participate in a                              to be unable to participate in a
                                                               briefing in person, by phone, or                              briefing in person, by phone, or
                                                               through the internet, even after I                            through the internet, even after I
                                                               reasonably tried to do so.                                    reasonably tried to do so.
                                            ❑ Active duty. I am currently on active military               ❑ Active duty. I am currently on active military
                                                               duty in a military combat zone.                               duty in a military combat zone.

                                             If you believe you are not required to receive a               If you believe you are not required to receive a
                                             briefing about credit counseling, you must file a              briefing about credit counseling, you must file a
                                             motion for waiver of credit counseling with the court.         motion for waiver of credit counseling with the court.


Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 6
                Case 6:24-bk-13602-SY                              Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                              Desc
                                                                   Main Document Page 7 of 70

Debtor 1              Saira                  Yamilet                        Chevez                                              Case number (if known)
                      First Name             Middle Name                    Last Name



Part 6: Answer These Questions for Reporting Purposes


 16.   What kind of debts do you                16a.   Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. S 101 (8) as
       have?                                           "incurred by an individual primarily for a personal, family, or household purpose."

                                                              No. Go to line 16b.
                                                              Yes. Go to line 17.


                                                16b.   Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                       for a business or investment or through
                                                                                             the operation of the business or investment.

                                                              No. Go to line 16c.
                                                              Yes. Go to line 17.


                                                16c.   State the type of debts you owe that are not consumer debts or business debts.



 17.   Are you filing under Chapter 7?                 No.     I
                                                                   am not filing under Chapter 7. Go to line 18.
                                                               I
       Do you estimate that after any                  Yes.      am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
                                                               administrative           are paid that funds will be available to distribute to unsecured creditors?
       exempt property is excluded                                                     expenses
       and administrative expenses are                                     No
       paid that funds will be available
       for distribution to unsecured                               a Yes
       creditors?

 18.   How many creditors do you
       estimate that you owe?
                                                       149
                                                                                                                                                    a More than 100,000
                                                       50-99
                                                       100-199
                                                       200-999

 19.   How much do you estimate your                   $0-$50,ooo                                 $11000,001-$10 million                                        billion
       assets to be worth?                                                                                           million                                        billion

                                                                                                                      million                                           billion
                                                       $500,001-$1 million                                              million                More than $50 billion


 20.   How much do you estimate your                   $0-$50,ooo                                 $1               million                                      billion
       liabilities
              to be?                                                                                                 million                   $1                      billion
                                                                                                                      million                                           billion
                                                       $500,001-$1 million                                              million
                                                                                                                                               More than $50 billion

Part 7: Sign Below


                                   I have
  For you                                   examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                   If I have chosen to file under Chapter 7, I
                                                                              am aware that may proceed, if
                                                                                            I                eligible, under Chapter 7, II 12, or 13 of title II, United
                                                                                                                                                         ,




                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   have obtained and read the notice required by II U.S.C. S 342(b).
                                   I request relief in accnrdance with the chapter of title 11,        United States Code, specified in this petition.
                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                   bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. SS 152, 1341, 1519,
                                   and 3571.



                                     x      Isl Saira Yamilet Chevez

                                            Saira Yamilet Chevez       ,
                                                                           Debtor I
                                            Executed on 06/06/2024
                                                              MM/ DDI           YYYY




Official Form   101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                            page 7
                Case 6:24-bk-13602-SY                       Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                       Desc
                                                            Main Document Page 8 of 70
 Debtor 1           Saira                   Yamilet                 Chevez                                         Case number (if known)
                    First Name              Middle Name             Last Name



   For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                              each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
   page.

                                              ✘ /s/ Rhonda Walker                                                    Date 06/06/2024
                                                   Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                   Rhonda Walker
                                                  Printed name

                                                   Rhonda Walker, Attorney at Law
                                                  Firm name

                                                   440 E Huntington Drive 300
                                                  Number           Street




                                                   Arcadia                                                         CA       91006
                                                  City                                                             State   ZIP Code




                                                  Contact phone (626) 577-7322                       Email address rwalker_law@yahoo.com


                                                   175108                                                          CA
                                                  Bar number                                                       State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 8
              Case 6:24-bk-13602-SY                                 Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                                          Desc
                                                                    Main Document Page 9 of 70
 Fill in this information to identify your case and this filing:

  Debtor 1                 Saira                        Yamilet                      Chevez
                           First Name                  Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                          Central                   District of        California

  Case number                                                                                                                                                          ❑ Check if this is an
                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ✔ No. Go to Part 2.
        ❑
        ❑ Yes. Where is the property?
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1                                                       ❑ Single-family home                                                  the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
                description                                       ❑ Condominium or cooperative                                         Current value of the            Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                portion you own?
                                                                  ❑ Land
                                                                  ❑ Investment property
                City               State         ZIP Code
                                                                  ❑ Timeshare                                                          Describe the nature of your ownership interest
                                                                  ❑ Other                                                              (such as fee simple, tenancy by the entireties, or
                                                                  Who has an interest in the property? Check one.                      a life estate), if known.
                County
                                                                  ❑ Debtor 1 only
                                                                  ❑ Debtor 2 only                                                      ❑ Check if this is community property
                                                                  ❑ Debtor 1 and Debtor 2 only                                              (see instructions)
                                                                  ❑ At least one of the debtors and another
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
        you have attached for Part 1. Write that number here ...................................................................................................
                                                                                                                                                                                      $0.00



  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑ No
           ✔ Yes
           ❑




Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 1
             Case 6:24-bk-13602-SY                    Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                      Desc
                                                      Main Document Page 10 of 70
Debtor Chevez , Saira Yamilet                                                                     Case number (if known)



       3.1                            Chevrolet     Who has an interest in the property? Check one.        Do not deduct secured claims or exemptions. Put
             Make:
                                                    ❑ Debtor 1 only                                        the amount of any secured claims on Schedule D:
             Model:                   Silverado     ❑ Debtor 2 only                                        Creditors Who Have Claims Secured by Property.
                                                    ❑ Debtor 1 and Debtor 2 only
             Year:                    2020          ✔ At least one of the debtors and another
                                                    ❑
                                                                                                          Current value of the
                                                                                                          entire property?
                                                                                                                                    Current value of the
                                                                                                                                    portion you own?

             Approximate mileage:     37883         ✔ Check if this is community property (see
                                                    ❑                                                                 $19,762.00              $19,762.00
                                                          instructions)
             Other information:




       If you own or have more than one, describe here:

       3.2                            Honca         Who has an interest in the property? Check one.        Do not deduct secured claims or exemptions. Put
             Make:
                                                    ❑ Debtor 1 only                                        the amount of any secured claims on Schedule D:
             Model:                   Civic         ❑ Debtor 2 only                                        Creditors Who Have Claims Secured by Property.
                                                    ❑ Debtor 1 and Debtor 2 only
             Year:                    2019          ✔ At least one of the debtors and another
                                                    ❑
                                                                                                          Current value of the
                                                                                                          entire property?
                                                                                                                                    Current value of the
                                                                                                                                    portion you own?

             Approximate mileage:     115387        ✔ Check if this is community property (see
                                                    ❑                                                                  $9,911.00                $4,955.50
                                                          instructions)
             Other information:




       3.3                            Chevrolet     Who has an interest in the property? Check one.        Do not deduct secured claims or exemptions. Put
             Make:
                                                    ✔ Debtor 1 only
                                                    ❑                                                      the amount of any secured claims on Schedule D:
             Model:                   Trax          ❑ Debtor 2 only                                        Creditors Who Have Claims Secured by Property.
                                                    ❑ Debtor 1 and Debtor 2 only                          Current value of the      Current value of the
             Year:                    2024          ❑ At least one of the debtors and another             entire property?          portion you own?

             Approximate mileage:     7543          ✔ Check if this is community property (see
                                                    ❑                                                                 $20,194.00              $20,194.00
                                                          instructions)
             Other information:




       3.4                          Volkswagen      Who has an interest in the property? Check one.        Do not deduct secured claims or exemptions. Put
             Make:
                                                    ❑ Debtor 1 only                                        the amount of any secured claims on Schedule D:
             Model:                 Cross Sport     ❑ Debtor 2 only                                        Creditors Who Have Claims Secured by Property.
                                                    ❑ Debtor 1 and Debtor 2 only
             Year:                    2023          ✔ At least one of the debtors and another
                                                    ❑
                                                                                                          Current value of the
                                                                                                          entire property?
                                                                                                                                    Current value of the
                                                                                                                                    portion you own?

             Approximate mileage:     24066         ✔ Check if this is community property (see
                                                    ❑                                                                 $25,341.00              $12,670.50
                                                          instructions)
             Other information:




 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes




Official Form 106A/B                                                 Schedule A/B: Property                                                          page 2
             Case 6:24-bk-13602-SY                                 Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                                          Desc
                                                                   Main Document Page 11 of 70
Debtor Chevez , Saira Yamilet                                                                                               Case number (if known)



       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                                            ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another
               Year:
                                                                                                                                      entire property?                portion you own?
               Other information:
                                                                 ❑ Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here ...................................................................................................
                                                                                                                                                                               $57,582.00



  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                    Current value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                          $1,050.00
                                            bedroom and living room furniture; appliances, kitchenware


 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                            $800.00
                                            Tv, computer, 2 cell phones


 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ✔ No
       ❑
       ❑ Yes. Describe. .........



Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 3
              Case 6:24-bk-13602-SY                                            Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                                                       Desc
                                                                               Main Document Page 12 of 70
Debtor Chevez , Saira Yamilet                                                                                                                     Case number (if known)



 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                                                     $500.00
                                                   All clothes, shoes, miscellaneous apparel


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                                                   $6,000.00
                                                   3 Necklaces, 3 Bracelets, Earrings


 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. .............




                                                                                                                                                                                    ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here .................................................................................................................................
                                                                                                                                                                                                          $8,350.00



  Part 4:             Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                   Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured
                                                                                                                                                                                               claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ✔ No
       ❑
       ❑ Yes ...................................................................................................................................................   Cash: ...................


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                                                                               JP Morgan Chase
                                             17.1. Checking account:                           Account Number: 6516                                                                                          $341.65

                                                                                               JP Morgan Chase Bank
                                             17.2. Checking account:                           Account Number: 8296                                                                                          $483.51

                                                                                               JP Morgan Chase
                                             17.3. Savings account:                            Account Number: 3668                                                                                            $50.07

Official Form 106A/B                                                                              Schedule A/B: Property                                                                                       page 4
             Case 6:24-bk-13602-SY                              Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                       Desc
                                                                Main Document Page 13 of 70
Debtor Chevez , Saira Yamilet                                                                       Case number (if known)




 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................    Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................   Name of entity:                                                       % of ownership:




 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................   Issuer name:




 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ✔ No
       ❑
       ❑ Yes. List each
           account separately. Type of account:                 Institution name:

                                      401(k) or similar plan:

                                      Pension plan:

                                      IRA:

                                      Retirement account:

                                      Keogh:

                                      Additional account:

                                      Additional account:


Official Form 106A/B                                                       Schedule A/B: Property                                           page 5
             Case 6:24-bk-13602-SY                           Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                Desc
                                                             Main Document Page 14 of 70
Debtor Chevez , Saira Yamilet                                                                              Case number (if known)




 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔ No
       ❑
       ❑ Yes ......................                        Institution name or individual:

                                      Electric:

                                      Gas:

                                      Heating oil:

                                      Security deposit on rental unit:

                                      Prepaid rent:

                                      Telephone:

                                      Water:

                                      Rented furniture:

                                      Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................    Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...




Official Form 106A/B                                                      Schedule A/B: Property                                                  page 6
            Case 6:24-bk-13602-SY                     Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                     Desc
                                                      Main Document Page 15 of 70
Debtor Chevez , Saira Yamilet                                                                      Case number (if known)



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                them, including whether you                                                                  Federal:
                already filed the returns and
                the tax years. ...................                                                           State:

                                                                                                             Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                             Alimony:

                                                                                                             Maintenance:

                                                                                                             Support:

                                                                                                             Divorce settlement:

                                                                                                             Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........




Official Form 106A/B                                               Schedule A/B: Property                                                           page 7
             Case 6:24-bk-13602-SY                                       Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                                                   Desc
                                                                         Main Document Page 16 of 70
Debtor Chevez , Saira Yamilet                                                                                                          Case number (if known)



 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ✔ No
       ❑
       ❑ Yes. Name the insurance company
                   of each policy and list its value. ...            Company name:                                             Beneficiary:                                       Surrender or refund value:




 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........



                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here .................................................................................................................................
                                                                                                                                                                                                  $875.23



  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔ No. Go to Part 6.
       ❑
       ❑ Yes. Go to line 38.
                                                                                                                                                                                    Current value of the
                                                                                                                                                                                    portion you own?
                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                    claims or exemptions.




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                      page 8
            Case 6:24-bk-13602-SY                    Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                Desc
                                                     Main Document Page 17 of 70
Debtor Chevez , Saira Yamilet                                                                  Case number (if known)



 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......
                                 Name of entity:                                                         % of ownership:




 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                ❑ No
                ❑ Yes. Describe. .........




Official Form 106A/B                                             Schedule A/B: Property                                                   page 9
             Case 6:24-bk-13602-SY                                       Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                                                Desc
                                                                         Main Document Page 18 of 70
Debtor Chevez , Saira Yamilet                                                                                                          Case number (if known)



 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here .................................................................................................................................
                                                                                                                                                                                                 $0.00



  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                 page 10
             Case 6:24-bk-13602-SY                                         Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                                                   Desc
                                                                           Main Document Page 19 of 70
Debtor Chevez , Saira Yamilet                                                                                                              Case number (if known)



 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here .................................................................................................................................
                                                                                                                                                                                                   $0.00



  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔                  $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔              $0.00


 56.   Part 2: Total vehicles, line 5                                                                              $57,582.00

 57.   Part 3: Total personal and household items, line 15                                                           $8,350.00

 58.   Part 4: Total financial assets, line 36                                                                          $875.23

 59.   Part 5: Total business-related property, line 45                                                                     $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                            $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                        $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                           $66,807.23              Copy personal property total             ➔   +     $66,807.23



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                                 $66,807.23




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                page 11
                Case 6:24-bk-13602-SY                    Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                        Desc
                                                         Main Document Page 20 of 70
 Fill in this information to identify your case:

  Debtor 1            Saira                   Yamilet               Chevez
                      First Name             Middle Name           Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name           Last Name

  United States Bankruptcy Court for the:               Central               District of       California

  Case number
  (if known)                                                                                                                            ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                             04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out
and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific
dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable
statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited
in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount
and the value of the property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

      Part 1:     Identify the Property You Claim as Exempt


 1.    Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       ❑
       ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.    For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

       Brief description of the property and        Current value of the       Amount of the exemption you claim             Specific laws that allow exemption
       line on Schedule A/B that lists this         portion you own
       property                                                                Check only one box for each exemption.
                                                    Copy the value from
                                                    Schedule A/B

       Brief             2020 Chevrolet                     $19,762.00         ✔
                                                                               ❑            Debtor 1: $0.00 (100.00%)        C.C.P. § 703.140(b)(2)
       description:      Silverado                                                          Non-filing Spouse: $0.00
                                                                                                     (0.00%)
       Line from                                                                                   Total: $0.00
       Schedule A/B:        3.1
                                                                               ❑ 100% of fair market value, up to
                                                                                    any applicable statutory limit

 3.    Are you claiming a homestead exemption of more than $189,050?
       (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

       ✔ No
       ❑
       ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                       Schedule C: The Property You Claim as Exempt                                               page 1 of 3
             Case 6:24-bk-13602-SY                   Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                   Desc
                                                     Main Document Page 21 of 70
Debtor 1            Saira             Yamilet               Chevez                         Case number (if known)
                First Name            Middle Name           Last Name



   Part 2:      Additional Page

     Brief description of the property and      Current value of the    Amount of the exemption you claim           Specific laws that allow exemption
     line on Schedule A/B that lists this       portion you own
     property                                                           Check only one box for each exemption.
                                                Copy the value from
                                                Schedule A/B

     Brief              2019 Honca Civic                $9,911.00       ✔
                                                                        ❑      Debtor 1: $2,158.00(100%)            C.C.P. § 703.140(b)(2)
     description:                                                              Non-filing Spouse: $0.00
     Line from                                                                          (0.00%)
     Schedule A/B:          3.2                                                    Total: $2,158.00
                                                                        ❑ 100% of fair market value, up to
                                                                            any applicable statutory limit

     Brief              2024 Chevrolet                 $20,194.00       ✔
                                                                        ❑       Debtor 1: $0.00 (100.00%)           C.C.P. § 703.140(b)(2)
     description:       Trax                                                    Non-filing Spouse: $0.00
                                                                                         (0.00%)
     Line from
                            3.3                                                        Total: $0.00
     Schedule A/B:
                                                                        ❑ 100% of fair market value, up to
                                                                            any applicable statutory limit

     Brief              2023 Volkswagen                $12,670.50       ✔
                                                                        ❑       Debtor 1: $0.00 (50.00%)            C.C.P. § 703.140(b)(2)
     description:       Cross Sport                                             Non-filing Spouse: $0.00
                                                                                         (0.00%)
     Line from
                            3.4                                                        Total: $0.00
     Schedule A/B:
                                                                        ❑ 100% of fair market value, up to
                                                                            any applicable statutory limit

     Brief              bedroom and living              $1,050.00       ✔
                                                                        ❑     Debtor 1: $800.00 (100.00%)           C.C.P. § 703.140(b)(3)
     description:       room furniture;                                        Non-filing Spouse: $0.00
                        appliances,                                                     (0.00%)
                        kitchenware                                                 Total: $800.00

     Line from                                                          ❑ 100% of fair market value, up to
     Schedule A/B:          6                                               any applicable statutory limit

                                                                        ✔
                                                                        ❑     Debtor 1: $250.00 (100.00%)           C.C.P. § 703.140(b)(5)
                                                                               Non-filing Spouse: $0.00
                                                                                        (0.00%)
                                                                                    Total: $250.00
                                                                        ❑ 100% of fair market value, up to
                                                                            any applicable statutory limit

     Brief              Tv, computer, 2 cell              $800.00       ✔
                                                                        ❑     Debtor 1: $800.00 (100.00%)           C.C.P. § 703.140(b)(3)
     description:       phones                                                 Non-filing Spouse: $0.00
                                                                                        (0.00%)
     Line from
                            7                                                       Total: $800.00
     Schedule A/B:
                                                                        ❑ 100% of fair market value, up to
                                                                            any applicable statutory limit

     Brief              All clothes, shoes,               $500.00       ✔
                                                                        ❑     Debtor 1: $500.00 (100.00%)           C.C.P. § 703.140(b)(3)
     description:       miscellaneous                                          Non-filing Spouse: $0.00
                        apparel                                                         (0.00%)
                                                                                    Total: $500.00
     Line from
     Schedule A/B:          11                                          ❑ 100% of fair market value, up to
                                                                            any applicable statutory limit


Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                        page 2 of 3
             Case 6:24-bk-13602-SY                        Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                   Desc
                                                          Main Document Page 22 of 70
Debtor 1            Saira                  Yamilet               Chevez                         Case number (if known)
                First Name                Middle Name            Last Name



   Part 2:      Additional Page

     Brief description of the property and           Current value of the    Amount of the exemption you claim           Specific laws that allow exemption
     line on Schedule A/B that lists this            portion you own
     property                                                                Check only one box for each exemption.
                                                     Copy the value from
                                                     Schedule A/B

     Brief              3 Necklaces, 3                       $6,000.00       ✔
                                                                             ❑     Debtor 1: $287.00 (100.00%)           C.C.P. § 703.140(b)(4)
     description:       Bracelets, Earrings                                         Non-filing Spouse: $0.00
                                                                                             (0.00%)
     Line from
                            12                                                           Total: $287.00
     Schedule A/B:
                                                                             ❑ 100% of fair market value, up to
                                                                                 any applicable statutory limit

     Brief              JP Morgan Chase                        $483.51       ✔
                                                                             ❑     Debtor 1: $483.51 (100.00%)           C.C.P. § 703.140(b)(5)
     description:       Bank
                                                                                    Non-filing Spouse: $0.00
                        Checking account
                                                                                             (0.00%)
                        Acct. No.: 8296
                                                                                         Total: $483.51
     Line from                                                               ❑ 100% of fair market value, up to
     Schedule A/B:          17                                                   any applicable statutory limit

     Brief              JP Morgan Chase                          $50.07      ✔
                                                                             ❑      Debtor 1: $50.07 (100.00%)           C.C.P. § 703.140(b)(5)
     description:       Savings account                                              Non-filing Spouse: $0.00
                        Acct. No.: 3668                                                       (0.00%)
                                                                                           Total: $50.07
     Line from
     Schedule A/B:          17                                               ❑ 100% of fair market value, up to
                                                                                 any applicable statutory limit

     Brief              JP Morgan Chase                        $341.65       ✔
                                                                             ❑     Debtor 1: $341.65 (100.00%)           C.C.P. § 703.140(b)(5)
     description:       Checking account                                            Non-filing Spouse: $0.00
                        Acct. No.: 6516                                                      (0.00%)
                                                                                         Total: $341.65
     Line from
     Schedule A/B:          17                                               ❑ 100% of fair market value, up to
                                                                                 any applicable statutory limit




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                        page 3 of 3
                Case 6:24-bk-13602-SY                      Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                               Desc
                                                           Main Document Page 23 of 70
 Fill in this information to identify your case:

     Debtor 1           Saira                  Yamilet                Chevez
                        First Name             Middle Name           Last Name

     Debtor 2
     (Spouse, if filing) First Name            Middle Name           Last Name

     United States Bankruptcy Court for the:              Central               District of    California

     Case number (if
     known)                                                                                                                                    ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List All Secured Claims

 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor              Column A               Column B              Column C
         separately for each claim. If more than one creditor has a particular claim, list the other            Amount of claim        Value of collateral   Unsecured
         creditors in Part 2. As much as possible, list the claims in alphabetical order according to the       Do not deduct the
                                                                                                                                       that supports this    portion
         creditor’s name.                                                                                       value of collateral.
                                                                                                                                       claim                 If any

     2.1 ALLY                                          Describe the property that secures the claim:                   $29,334.00             $20,194.00       $9,140.00
         Creditor’s Name
                                                       2024 Chevrolet Trax
          200 Renaissance Ctr
         Number          Street
                                                       As of the date you file, the claim is: Check all that apply.
                                                       ❑ Contingent
          Detroit, MI 48243-1300                       ❑ Unliquidated
         City               State       ZIP Code       ❑ Disputed
         Who owes the debt? Check one.                 Nature of lien. Check all that apply.
         ✔ Debtor 1 only
         ❑                                             ✔ An agreement you made (such as mortgage or secured car loan)
                                                       ❑
         ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
         ❑ Debtor 1 and Debtor 2 only                  ❑ Judgment lien from a lawsuit
         ❑ At least one of the debtors and             ❑ Other (including a right to
              another                                      offset)
         ✔ Check if this claim relates to a
         ❑
              community debt
         Date debt was incurred         11/2023        Last 4 digits of account number         3    9       4   0

         Add the dollar value of your entries in Column A on this page. Write that number here:                       $29,334.00




Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 3
             Case 6:24-bk-13602-SY                   Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                            Desc
                                                     Main Document Page 24 of 70
Debtor 1        Saira                 Yamilet                 Chevez                           Case number (if known)
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

  2.2 COMENITYCB/IDDEAL                          Describe the property that secures the claim:                   $5,713.00             $6,000.00               $0.00
      Creditor’s Name
                                                 3 Necklaces, 3 Bracelets, Earrings
       12921 S Vista Station Blvd
      Number         Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
       Draper, UT 84020-2376                     ❑ Unliquidated
      City              State      ZIP Code      ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to        Jewelry
           another                                  offset)
      ✔ Check if this claim relates to a
      ❑
           community debt
      Date debt was incurred       01/2021       Last 4 digits of account number         1    5   4    6

  2.3 GM Financial                               Describe the property that secures the claim:                  $25,069.64           $19,762.00         $5,307.64
      Creditor’s Name
                                                 2020 Chevrolet Silverado
       Po Box 181145
      Number         Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
       Arlington, TX 76096-1145                  ❑ Unliquidated
      City              State      ZIP Code      ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ✔ Check if this claim relates to a
      ❑
           community debt
      Date debt was incurred       05/2020       Last 4 digits of account number         7    4   6    9

      Add the dollar value of your entries in Column A on this page. Write that number here:                 $30,782.64
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 3
             Case 6:24-bk-13602-SY                   Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                             Desc
                                                     Main Document Page 25 of 70
Debtor 1         Saira                Yamilet                 Chevez                             Case number (if known)
                First Name            Middle Name             Last Name


                                                                                                        Column A               Column B                Column C
                Additional Page                                                                         Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                     that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                 Do not deduct the
                followed by 2.4, and so forth.                                                          value of collateral.
                                                                                                                               claim                   If any

 2.4 Honda Financial Services                   Describe the property that secures the claim:                   $7,753.00              $9,911.00         $0.00
      Creditor’s Name
                                                 2019 Honca Civic
      Po Box 6070
      Number         Street
                                                As of the date you file, the claim is: Check all that apply.
                                                ❑ Contingent
      Cypress, CA 90630-6070                    ❑ Unliquidated
      City              State      ZIP Code     ❑ Disputed
      Who owes the debt? Check one.             Nature of lien. Check all that apply.
      ❑ Debtor 1 only                           ✔ An agreement you made (such as mortgage or secured car loan)
                                                ❑
      ❑ Debtor 2 only                           ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only              ❑ Judgment lien from a lawsuit
      ✔ At least one of the debtors and
      ❑                                         ❑ Other (including a right to
           another                                  offset)
      ✔ Check if this claim relates to a
      ❑
           community debt
      Date debt was incurred      03/2019       Last 4 digits of account number         4    5      8   7

 2.5 VW Credit Inc                              Describe the property that secures the claim:                  $47,120.00             $12,670.50        $34,449.50
      Creditor’s Name
                                                 2023 Volkswagen Cross Sport
      1401 Franklin Blvd
      Number         Street
                                                As of the date you file, the claim is: Check all that apply.
                                                ❑ Contingent
      Libertyville, IL 60048-4460               ❑ Unliquidated
      City              State      ZIP Code     ❑ Disputed
      Who owes the debt? Check one.             Nature of lien. Check all that apply.
      ❑ Debtor 1 only                           ✔ An agreement you made (such as mortgage or secured car loan)
                                                ❑
      ❑ Debtor 2 only                           ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only              ❑ Judgment lien from a lawsuit
      ✔ At least one of the debtors and
      ❑                                         ❑ Other (including a right to
           another                                  offset)
      ✔ Check if this claim relates to a
      ❑
           community debt
      Date debt was incurred      03/2023       Last 4 digits of account number         0    3      5   7

      Add the dollar value of your entries in Column A on this page. Write that number here:                   $54,873.00
      If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                             $114,989.64
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 3 of 3
                Case 6:24-bk-13602-SY                      Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                              Desc
                                                           Main Document Page 26 of 70
 Fill in this information to identify your case:

  Debtor 1            Saira                   Yamilet                 Chevez
                     First Name              Middle Name              Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                 Central               District of     California

  Case number
  (if known)                                                                                                                                  ❑ Check if this is an
                                                                                                                                                   amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes.
      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 AMEX/CBNA                                                          Last 4 digits of account number           9    7    0    1                            $2,006.00
         Nonpriority Creditor’s Name
                                                                         When was the debt incurred?                   04/2021
         50 Northwest Point Blvd
         Number               Street
                                                                         As of the date you file, the claim is: Check all that apply.

         Elk Grove Vlg, IL 60007-1032
                                                                         ❑ Contingent
         City                      State                   ZIP Code
                                                                         ❑ Unliquidated
                                                                         ❑ Disputed
         Who incurred the debt? Check one.
         ✔ Debtor 1 only
         ❑
                                                                         Type of NONPRIORITY unsecured claim:

         ❑ Debtor 2 only                                                 ❑ Student loans
         ❑ Debtor 1 and Debtor 2 only                                    ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                             priority claims
         ❑ At least one of the debtors and another                       ❑ Debts to pension or profit-sharing plans, and other similar debts
         ✔ Check if this claim is for a community debt
         ❑                                                               ✔ Other. Specify Credit Card
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 8
             Case 6:24-bk-13602-SY                    Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                      Desc
                                                      Main Document Page 27 of 70
Debtor 1        Saira                   Yamilet             Chevez                          Case number (if known)
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.2 Apoyo Financiero                                           Last 4 digits of account number         6    7   5    0                         $8,400.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 08/2023
       2300 Clayton Rd Ste 1170
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Concord, CA 94520-2100
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Installment Loan
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.3 Best Buy/CBNA                                              Last 4 digits of account number         7    4   2    5                         $4,618.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 09/2021
       Po Box 15298
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Wilmington, DE 19850-5298
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 2 of 8
             Case 6:24-bk-13602-SY                    Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                      Desc
                                                      Main Document Page 28 of 70
Debtor 1        Saira                   Yamilet              Chevez                         Case number (if known)
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.4 CITI                                                       Last 4 digits of account number         8    4   4    1                         $11,181.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 03/2020
       5800 S Corporate Pl
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Sioux Falls, SD 57108-5027
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.5 DR D HARRY D THOMAS JR DDS                                 Last 4 digits of account number         8    5   7    0                          $2,183.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 12/2022
       303 S Mcneil St
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Burgaw, NC 28425-5015
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Medical Bill
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3 of 8
             Case 6:24-bk-13602-SY                    Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                      Desc
                                                      Main Document Page 29 of 70
Debtor 1        Saira                   Yamilet             Chevez                          Case number (if known)
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.6 Oportun/Progreso Finan                                     Last 4 digits of account number         5    4   9    2                           $668.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 09/2021
       Po Box 560306 Ste 700
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       The Colony, TX 75056-0306
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Installment Loan
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.7 Regional Finance                                           Last 4 digits of account number         8    2   9    8                         $4,009.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 12/2023
       9601 N Tryon St Ste H
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Charlotte, NC 28262-8460
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Installment Loan
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4 of 8
             Case 6:24-bk-13602-SY                    Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                      Desc
                                                      Main Document Page 30 of 70
Debtor 1        Saira                   Yamilet             Chevez                          Case number (if known)
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.8 SYNC/AMAZON                                                Last 4 digits of account number         3    5   8    3                           $728.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 12/2020
       410 Terry Ave N
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Seattle, WA 98109-5210
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.9 SYNCB/TJX COS DC                                           Last 4 digits of account number         5    0   7    7                         $1,014.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 09/2021
       Po Box 965015
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Orlando, FL 32896-5015
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5 of 8
             Case 6:24-bk-13602-SY                    Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                      Desc
                                                      Main Document Page 31 of 70
Debtor 1        Saira                   Yamilet             Chevez                          Case number (if known)
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.10 TD Bank USA/Target Credit                                  Last 4 digits of account number         1    0   0    6                           $475.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/2018
       7000 Target Pkwy N
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Minneapolis, MN 55445-4301
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.11 THD/CBNA                                                   Last 4 digits of account number         3    0   5    8                         $4,840.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 06/2020
       Po Box 7032
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Sioux Falls, SD 57117-7032
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6 of 8
             Case 6:24-bk-13602-SY                    Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                      Desc
                                                      Main Document Page 32 of 70
Debtor 1        Saira                   Yamilet             Chevez                          Case number (if known)
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.12 THD/CBNA                                                   Last 4 digits of account number         0    6   8    5                         $3,197.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 03/2023
       Po Box 7032
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Sioux Falls, SD 57117-7032
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ✔ Check if this claim is for a community debt
      ❑                                                          ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 7 of 8
                Case 6:24-bk-13602-SY                       Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                               Desc
                                                            Main Document Page 33 of 70
Debtor 1          Saira                   Yamilet                Chevez                      Case number (if known)
                  First Name             Middle Name            Last Name


      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.    Domestic support obligations                                6a.                          $0.00
 from Part 1
                   6b.    Taxes and certain other debts you owe the government        6b.                          $0.00

                   6c.    Claims for death or personal injury while you were          6c.                          $0.00
                          intoxicated

                   6d.    Other. Add all other priority unsecured claims.             6d.   +                      $0.00
                          Write that amount here.

                   6e.    Total. Add lines 6a through 6d.                             6e.
                                                                                                                  $0.00



                                                                                                Total claim

 Total claims      6f.    Student loans                                               6f.                          $0.00
 from Part 2
                   6g.    Obligations arising out of a separation agreement or        6g.                          $0.00
                          divorce that you did not report as priority claims

                   6h.    Debts to pension or profit-sharing plans, and other         6h.                          $0.00
                          similar debts

                   6i.    Other. Add all other nonpriority unsecured claims.          6i.   +                 $43,319.00
                          Write that amount here.

                   6j.    Total. Add lines 6f through 6i.                             6j.
                                                                                                              $43,319.00




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                     page 8 of 8
                       Case 6:24-bk-13602-SY                        Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                 Desc
                                                                    Main Document Page 34 of 70
 Fill in this information to identify your case:

     Debtor 1                       Saira                Yamilet           Chevez
                                    First Name           Middle Name      Last Name

     Debtor 2
     (Spouse, if filing)            First Name           Middle Name      Last Name

     United States Bankruptcy Court for the:                        Central District of California

     Case number                                                                                                                         ❑ Check if this is an
     (if known)                                                                                                                              amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                              State what the contract or lease is for

2.1                                                                                             Monthly Rent Agreement
         Rene Penate                                                                            Contract to be ASSUMED
        Name
         1301 E Shady Ct
        Number             Street
         Irving, TX 75060
        City                                     State   ZIP Code

2.2

        Name

        Number             Street

        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                          page 1 of 1
               Case 6:24-bk-13602-SY                       Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                           Desc
                                                           Main Document Page 35 of 70
 Fill in this information to identify your case:

  Debtor 1             Saira                  Yamilet                Chevez
                      First Name             Middle Name             Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name             Last Name

  United States Bankruptcy Court for the:                  Central            District of     California

  Case number
  (if known)                                                                                                                               ❑ Check if this is an
                                                                                                                                                amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                          12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ❑ No
        ✔ Yes
        ❑
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ❑ No. Go to line 3.
        ✔ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑
               ❑ No
               ✔ Yes. In which community state or territory did you live?
               ❑                                                                    California             . Fill in the name and current address of that person.

                   Ojeda , Martin
                   Name of your spouse, former spouse, or legal equivalent
                   2303 Lincoln Dr
                   Number                 Street
                   Sn Bernrdno, CA 92405-3125
                   City                            State                         ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                        Column 2: The creditor to whom you owe the debt

                                                                                                       Check all schedules that apply:
 3.1    Chevez, Wendy
        Name                                                                                           ✔ Schedule D, line
                                                                                                       ❑                             2.4

        1207 1/2 E 28th St                                                                             ❑ Schedule E/F, line
        Number                          Street
                                                                                                       ❑ Schedule G, line
        Los Angeles, CA 90011-2197
        City                                       State                                    ZIP Code

 3.2    Cruz Chevez , Yesenia Del Carmen
        Name                                                                                           ✔ Schedule D, line
                                                                                                       ❑                             2.5

        2303 Lincoln Dr                                                                                ❑ Schedule E/F, line
        Number                          Street
                                                                                                       ❑ Schedule G, line
        San Bernardino, CA 92405
        City                                       State                                    ZIP Code




Official Form 106H                                                     Schedule H: Codebtors                                                             page 1 of 1
                    Case 6:24-bk-13602-SY                    Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                      Desc
                                                             Main Document Page 36 of 70
 Fill in this information to identify your case:

  Debtor 1                  Saira                  Yamilet          Chevez
                           First Name              Middle Name     Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name     Last Name                                                Check if this is:

                                                             Central District of California
                                                                                                                            ❑ An amended filing
                                                                                                                            ❑ A supplement showing postpetition
  United States Bankruptcy Court for the:

  Case number                                                                                                                  chapter 13 income as of the following date:
  (if known)

                                                                                                                               MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                             Debtor 1                                            Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status          ✔ Employed ❑ Not Employed
                                                                        ❑                                                               ✔ Not Employed
                                                                                                                             ❑ Employed ❑
     attach a separate page with
     information about additional            Occupation                 Customer Service
     employers.
                                             Employer's name            SB Food Express Inc
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address         1602 W Valley Blvd
     Occupation may include student                                      Number Street                                        Number Street
     or homemaker, if it applies.




                                                                        Colton, CA 92324-1807
                                                                         City                     State      Zip Code         City                State     Zip Code
                                             How long employed there? Since 2022


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1      For Debtor 2 or
                                                                                                                        non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.          2.               $2,442.90                     $0.00

 3. Estimate and list monthly overtime pay.                                              3.   +               $0.35     +               $0.00


 4. Calculate gross income. Add line 2 + line 3.                                         4.               $2,443.24                     $0.00




Official Form 106I                                                       Schedule I: Your Income                                                                 page 1
                     Case 6:24-bk-13602-SY                                   Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                        Desc
                                                                             Main Document Page 37 of 70
 Debtor 1                 Saira                        Yamilet                         Chevez                                        Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.           $2,443.24                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.            $186.91                    $0.00
       5b. Mandatory contributions for retirement plans                                                        5b.              $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.              $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.              $0.00                    $0.00
       5e. Insurance                                                                                           5e.             $26.33                    $0.00
       5f. Domestic support obligations                                                                        5f.              $0.00                    $0.00
       5g. Union dues                                                                                          5g.              $0.00                    $0.00
       5h. Other deductions. Specify:                                                                          5h.   +          $0.00         +          $0.00
 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.             $213.23                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.           $2,230.01                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.              $0.00               $2,696.81
       8b. Interest and dividends                                                                              8b.              $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.              $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.              $0.00                    $0.00
       8e. Social Security                                                                                     8e.              $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.

            Specify:                                                                                           8f.              $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.              $0.00                    $0.00
       8h. Other monthly income. Specify:                                                                      8h.   +          $0.00         +          $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.               $0.00                $2,696.81
 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.          $2,230.01     +          $2,696.81          =         $4,926.82

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.            $4,926.82
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
                Case 6:24-bk-13602-SY                  Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                       Desc
                                                       Main Document Page 38 of 70
 Debtor 1              Saira            Yamilet               Chevez                            Case number (if known)
                       First Name       Middle Name           Last Name


   8a. Attached Statement
                                      Subcontractor for Green Line Express Services/Truck Driver
   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
       1.   Gross Monthly Income:                                                                                                  $3,122.33
   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
       2.   Ordinary and necessary expense                                                                        $12.50
       3.   Net Employee Payroll (Other than debtor)                                                                $0.00
       4.   Payroll Taxes                                                                                           $0.00
       5.   Unemployment Taxes                                                                                      $0.00
       6.   Worker's Compensation                                                                                   $0.00
       7.   Other Taxes                                                                                             $0.00
       8.   Inventory Purchases (Including raw materials)                                                           $0.00
       9.   Purchase of Feed/Fertilizer/Seed/Spray                                                                  $0.00
       10. Rent (Other than debtor's principal residence)                                                           $0.00
       11. Utilities                                                                                             $120.00
       12. Office Expenses and Supplies                                                                             $0.00
       13. Repairs and Maintenance                                                                                  $0.00
       14. Vehicle Expenses                                                                                      $155.72
       15. Travel and Entertainment                                                                               $17.00
       16. Equipment Rental and Leases                                                                              $0.00
       17. Legal/Accounting/Other Professional Fees                                                                 $0.00
       18. Insurance                                                                                             $120.30
       19. Employee Benefits (e.g., pension, medical, etc.)                                                         $0.00
       20. Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
           Business Debts
            TOTAL PAYMENTS TO SECURED CREDITORS                                                                     $0.00

       21. Other Expenses
            TOTAL OTHER EXPENSES                                                                                    $0.00
                                                                                                                                    $425.52
       22. TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
       23. AVERAGE NET MONTHLY INCOME(Subtract item 22 from item 1)                                                                $2,696.81




Official Form 106I                                                  Schedule I: Your Income                                             page 3
                    Case 6:24-bk-13602-SY                      Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                      Desc
                                                               Main Document Page 39 of 70
 Fill in this information to identify your case:

  Debtor 1                  Saira                   Yamilet              Chevez
                                                                                                                 Check if this is:
                           First Name               Middle Name         Last Name
                                                                                                                 ❑ An amended filing
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name
                                                                                                                 ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                       Central District of California
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ❑ No
     Do not list Debtor 1 and                  ✔ Yes. Fill out this information
                                               ❑                                        Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.
                                                                                        Child                               20                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               5                        ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               2                        ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                      4.                $1,400.00

     If not included in line 4:
     4a. Real estate taxes                                                                                                      4a.                     $0.00
     4b. Property, homeowner's, or renter's insurance                                                                           4b.                     $0.00
     4c. Home maintenance, repair, and upkeep expenses                                                                          4c.                     $0.00
     4d. Homeowner's association or condominium dues                                                                            4d.                     $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
                    Case 6:24-bk-13602-SY                  Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                             Desc
                                                           Main Document Page 40 of 70
 Debtor 1             Saira                 Yamilet              Chevez                                      Case number (if known)
                      First Name            Middle Name          Last Name


                                                                                                                             Your expenses


 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                        $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                 $130.00
       6b. Water, sewer, garbage collection                                                                        6b.                       $0.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                 $315.00

       6d. Other. Specify:                                                                                         6d.                       $0.00
 7.    Food and housekeeping supplies                                                                              7.                  $775.00

 8.    Childcare and children’s education costs                                                                    8.                        $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                  $140.00

 10. Personal care products and services                                                                           10.                  $90.00

 11.   Medical and dental expenses                                                                                 11.                       $0.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                 $450.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                       $0.00

 14. Charitable contributions and religious donations                                                              14.                       $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a. Life insurance                                                                                         15a.                      $0.00
       15b. Health insurance                                                                                       15b.                      $0.00
       15c. Vehicle insurance                                                                                      15c.                $300.00

       15d. Other insurance. Specify:                                                                              15d.                      $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                       $0.00

 17. Installment or lease payments:
       17a. Car payments for Vehicle 1 2020 Chevrolet Silverado                                                    17a.                $710.00
       17b. Car payments for Vehicle 2 2024 Chevrolet Trax                                                         17b.                $540.00
       17c. Other. Specify:                                                                                        17c.                      $0.00
       17d. Other. Specify:                                                                                        17d.                      $0.00
 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
       20a. Mortgages on other property                                                                            20a.                      $0.00
       20b. Real estate taxes                                                                                      20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                      $0.00



Official Form 106J                                                          Schedule J: Your Expenses                                                page 2
                Case 6:24-bk-13602-SY                   Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                               Desc
                                                        Main Document Page 41 of 70
 Debtor 1            Saira               Yamilet               Chevez                                       Case number (if known)
                     First Name          Middle Name           Last Name



 21. Other. Specify:                                                                                              21.    +              $0.00


 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.               $4,850.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                   $0.00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.               $4,850.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.               $4,926.82

      23b. Copy your monthly expenses from line 22c above.                                                        23b.       –       $4,850.00
      23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                                23c.                  $76.82



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                               page 3
                  Case 6:24-bk-13602-SY                 Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                        Desc
                                                        Main Document Page 42 of 70
 Debtor 1            Saira               Yamilet                Chevez                               Case number (if known)
                     First Name          Middle Name            Last Name




                                                                                                                                     Amount


   6a. Electricity, heat, natural gas
       Electricity                                                                                                                    $85.00
       Gas                                                                                                                            $45.00

   6c. Telephone, cell phone, Internet, satellite, and cable services
       Cell Phone                                                                                                                    $175.00
       Internet                                                                                                                       $40.00
       Cable                                                                                                                         $100.00

   7. Food and housekeeping supplies
       Groceries                                                                                                                     $700.00
       Toiletries                                                                                                                     $75.00

   9. Clothing, laundry, and dry cleaning
       Clothing                                                                                                                      $100.00
       Laundry                                                                                                                        $40.00

   10. Personal care products and services
       Barber                                                                                                                         $50.00
       Nail Salon                                                                                                                     $40.00




Official Form 106J                                                       Schedule J: Your Expenses                                       page 4
                    Case 6:24-bk-13602-SY                                Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                                            Desc
                                                                         Main Document Page 43 of 70
 Fill in this information to identify your case:

  Debtor 1                      Saira                       Yamilet                  Chevez
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                 Central District of California

  Case number                                                                                                                                                            ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                             $0.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                            $66,807.23

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                      $66,807.23



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                             $114,989.64

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                          $0.00

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +            $43,319.00

                                                                                                                                                  Your total liabilities                  $158,308.64

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                    $4,926.82


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                  $4,850.00




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
                Case 6:24-bk-13602-SY                      Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                   Desc
                                                           Main Document Page 44 of 70
Debtor 1            Saira                 Yamilet                Chevez                                            Case number (if known)
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ✔ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
   ❑
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                            $4,952.11




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                            $0.00


    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                   $0.00


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                         $0.00


    9d. Student loans. (Copy line 6f.)                                                                                          $0.00


    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                         $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +                   $0.00


    9g. Total. Add lines 9a through 9f.                                                                                        $0.00




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                          page 2 of 2
                  Case 6:24-bk-13602-SY                        Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                         Desc
                                                               Main Document Page 45 of 70


 Fill in this information to identify your
                                             case:

  Debtor 1                  Saira                    Yamilet              Chevez
                            First Name               Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)       First Name               Middle Name         Last Name


  United States Bankruptcy Court for the:                          Central District of California
  Case number                                                                                                                                Check if this is an
  (if known)                                                                                                                                 amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.


You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. SS 152, 1341, 1519, and 3571.




               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help
                                                                                     you fill out bankruptcy forms?



       Yes. Name of person                                                                   Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                             Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




    X      Isl Saira Yamilet Chevez

           Saira Yamilet Chevez   ,
                                      Debtor I


           Date   06106/2024
                  MM/ DDI YYYY




Official   Form 106Dec                                             Declaration About an Individual Debtor's Schedules
                    Case 6:24-bk-13602-SY                    Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                    Desc
                                                             Main Document Page 46 of 70
 Fill in this information to identify your case:

  Debtor 1                  Saira                  Yamilet           Chevez
                           First Name              Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name      Last Name

  United States Bankruptcy Court for the:                    Central District of California

  Case number                                                                                                                        ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                              Dates Debtor 1 lived    Debtor 2:                                             Dates Debtor 2 lived
                                                             there                                                                         there


                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                               Number     Street
                                                           To                                                                             To



    City                            State ZIP Code                                    City                          State ZIP Code



                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                               Number     Street
                                                           To                                                                             To



    City                            State ZIP Code                                    City                          State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ❑ No
    ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).
    ❑

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
                Case 6:24-bk-13602-SY                   Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                     Desc
                                                        Main Document Page 47 of 70
Debtor 1            Saira             Yamilet                 Chevez                                         Case number (if known)
                    First Name        Middle Name             Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Debtor 1                                               Debtor 2

                                                 Sources of income          Gross Income                Sources of income           Gross Income
                                                 Check all that apply.      (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)

                                                ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
    From January 1 of current year until the
                                                    bonuses, tips                   $12,005.63             bonuses, tips
    date you filed for bankruptcy:
                                                ✔ Operating a business
                                                ❑                                          $0.00       ✔ Operating a business
                                                                                                       ❑                                    $16,000.00

    For last calendar year:                     ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
                                                    bonuses, tips                   $16,119.00             bonuses, tips
    (January 1 to December 31, 2023       )
                                   YYYY         ✔ Operating a business
                                                ❑                                   $10,603.00         ✔ Operating a business
                                                                                                       ❑                                    $38,370.00


    For the calendar year before that:          ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
                                                    bonuses, tips                   $12,328.00             bonuses, tips
    (January 1 to December 31, 2022       )
                                   YYYY         ✔ Operating a business
                                                ❑                                          $0.00       ✔ Operating a business
                                                                                                       ❑                                    $34,150.00



  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Debtor 1                                               Debtor 2

                                                 Sources of income          Gross income from           Sources of income           Gross Income from
                                                 Describe below.            each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:


    For last calendar year:
    (January 1 to December 31, 2023       )
                                   YYYY



    For the calendar year before that:
    (January 1 to December 31, 2022       )
                                   YYYY




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
                    Case 6:24-bk-13602-SY                      Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                 Desc
                                                               Main Document Page 48 of 70
Debtor 1            Saira                    Yamilet                Chevez                                         Case number (if known)
                    First Name               Middle Name            Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑ No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ❑ Yes.        List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                            paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                            not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔ Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ✔ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
              ❑
                            include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                            an attorney for this bankruptcy case.

                                                               Dates of           Total amount paid         Amount you still owe     Was this payment for…
                                                               payment

             ALLY                                              06/03/2024                  $1,620.00                $29,334.00     ❑ Mortgage
             Creditor's Name
                                                                                                                                   ✔ Car
                                                                                                                                   ❑
                                                               05/06/2024
                                                                                                                                   ❑ Credit card
             200 Renaissance Ctr
             Number      Street
                                                               04/06/2024                                                          ❑ Loan repayment
             Detroit, MI 48243-1300
             City                    State      ZIP Code                                                                           ❑ Suppliers or vendors
                                                                                                                                   ❑ Other

             GM Financial                                      06/01/2024                  $2,130.00                $25,069.00     ❑ Mortgage
             Creditor's Name
                                                                                                                                   ✔ Car
                                                                                                                                   ❑
                                                               05/01/2024
                                                                                                                                   ❑ Credit card
             Po Box 181145
             Number      Street
                                                               04/01/2024                                                          ❑ Loan repayment
             Arlington, TX 76096-1145
             City                    State      ZIP Code                                                                           ❑ Suppliers or vendors
                                                                                                                                   ❑ Other

             Rene Penate                                       06/01/2024                  $4,200.00                  $1,400.00    ❑ Mortgage
             Creditor's Name
                                                                                                                                   ❑ Car
                                                               05/01/2024
                                                                                                                                   ❑ Credit card
             1301 E Shady Ct
             Number      Street
                                                               04/01/2024                                                          ❑ Loan repayment
             Irving, TX 75060
             City                    State      ZIP Code                                                                           ❑ Suppliers or vendors
                                                                                                                                           Month to
                                                                                                                                           Month
                                                                                                                                   ✔ Other Agreement
                                                                                                                                   ❑




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 3
                 Case 6:24-bk-13602-SY                       Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                      Desc
                                                             Main Document Page 49 of 70
Debtor 1             Saira                 Yamilet                Chevez                                         Case number (if known)
                     First Name            Middle Name            Last Name



  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.
                                                          Dates of            Total amount paid   Amount you still          Reason for this payment
                                                          payment                                 owe



    Insider's Name


    Number     Street




    City                          State   ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                          Dates of            Total amount paid   Amount you still          Reason for this payment
                                                          payment                                 owe                       Include creditor’s name



    Insider's Name


    Number     Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 4
                  Case 6:24-bk-13602-SY                        Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                    Desc
                                                               Main Document Page 50 of 70
Debtor 1            Saira                  Yamilet                  Chevez                                         Case number (if known)
                    First Name             Middle Name              Last Name

                                                       Nature of the case                     Court or agency                               Status of the case


    Case title                                                                                                                           ❑ Pending
                                                                                             Court Name                                  ❑ On appeal
                                                                                                                                         ❑ Concluded
                                                                                             Number       Street
    Case number

                                                                                             City                    State    ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.
                                                                     Describe the property                               Date                Value of the property



    Creditor’s Name



    Number       Street                                              Explain what happened

                                                                    ❑ Property was repossessed.
                                                                    ❑ Property was foreclosed.
                                                                    ❑ Property was garnished.
    City                           State    ZIP Code                ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                             Describe the action the creditor took                     Date action was      Amount
                                                                                                                       taken
    Creditor’s Name



    Number       Street



    City                          State    ZIP Code
                                                            Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 5
                 Case 6:24-bk-13602-SY                         Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                   Desc
                                                               Main Document Page 51 of 70
Debtor 1             Saira                   Yamilet                Chevez                                         Case number (if known)
                     First Name              Middle Name            Last Name
 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.
     Gifts with a total value of more than $600             Describe the gifts                                         Dates you gave       Value
     per person                                                                                                        the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                             State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities           Describe what you contributed                                  Date you              Value
     that total more than $600                                                                                    contributed



    Charity’s Name




    Number     Street



    City                     State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                              Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
                 Case 6:24-bk-13602-SY                     Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                 Desc
                                                           Main Document Page 52 of 70
Debtor 1            Saira                Yamilet                Chevez                                         Case number (if known)
                    First Name           Middle Name            Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                               Description and value of any property transferred              Date payment or       Amount of payment
    Rhonda Walker, Attorney at Law                                                                            transfer was made
    Person Who Was Paid                        Attorney’s Fee
                                                                                                              6/25/2024                    $1,800.00
    440 E Huntington Drive 300
    Number     Street




    Arcadia, CA 91006
    City                    State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Description and value of any property transferred              Date payment or       Amount of payment
                                                                                                              transfer was made
    Person Who Was Paid



    Number     Street




    City                    State   ZIP Code



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
                 Case 6:24-bk-13602-SY                     Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                     Desc
                                                           Main Document Page 53 of 70
Debtor 1            Saira                Yamilet                Chevez                                         Case number (if known)
                    First Name           Middle Name            Last Name

                                               Description and value of property           Describe any property or payments               Date transfer was
                                               transferred                                 received or debts paid in exchange              made

    Person Who Received Transfer



    Number      Street




    City                    State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Description and value of the property transferred                                           Date transfer was
                                                                                                                                           made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Last 4 digits of account number         Type of account or       Date account was           Last balance
                                                                                        instrument               closed, sold, moved, or    before closing or
                                                                                                                 transferred                transfer

    Name of Financial Institution
                                                XXXX–                                 ❑ Checking
                                                                                      ❑ Savings
    Number      Street
                                                                                      ❑ Money market
                                                                                      ❑ Brokerage
                                                                                      ❑ Other
    City                    State   ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8
                 Case 6:24-bk-13602-SY                     Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                 Desc
                                                           Main Document Page 54 of 70
Debtor 1            Saira                Yamilet                Chevez                                         Case number (if known)
                    First Name           Middle Name            Last Name

                                                   Who else had access to it?                  Describe the contents                     Do you still have
                                                                                                                                         it?

                                                                                                                                        ❑ No
    Name of Financial Institution               Name
                                                                                                                                        ❑ Yes

    Number      Street                          Number      Street



                                                City                   State   ZIP Code

    City                    State   ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Who else has or had access to it?           Describe the contents                     Do you still have
                                                                                                                                         it?

                                                                                                                                        ❑ No
    Name of Storage Facility                    Name
                                                                                                                                        ❑ Yes

    Number      Street                          Number      Street



                                                City                   State   ZIP Code

    City                    State   ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Where is the property?                      Describe the property                     Value



    Owner's Name
                                                Number      Street



    Number      Street

                                                City                   State   ZIP Code



    City                    State   ZIP Code




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 9
                   Case 6:24-bk-13602-SY                   Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                     Desc
                                                           Main Document Page 55 of 70
Debtor 1            Saira                Yamilet                Chevez                                         Case number (if known)
                    First Name           Middle Name            Last Name
 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Governmental unit                        Environmental law, if you know it                  Date of notice



    Name of site                               Governmental unit



    Number     Street                          Number      Street



                                               City                 State   ZIP Code


    City                    State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Governmental unit                        Environmental law, if you know it                  Date of notice



    Name of site                               Governmental unit



    Number     Street                          Number      Street



                                               City                 State   ZIP Code


    City                    State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 10
                   Case 6:24-bk-13602-SY                     Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                    Desc
                                                             Main Document Page 56 of 70
Debtor 1            Saira                 Yamilet                   Chevez                                           Case number (if known)
                    First Name            Middle Name               Last Name

                                                   Court or agency                          Nature of the case                                Status of the case



    Case title                                                                                                                                ❑ Pending
                                                                                                                                              ❑ On appeal
                                                  Court Name


                                                                                                                                              ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔ No. None of the above applies. Go to Part 12.
    ❑
    ❑ Yes. Check all that apply above and fill in the details below for each business.
                                                    Describe the nature of the business                      Employer Identification number
                                                                                                             Do not include Social Security number or ITIN.
    Name
                                                                                                              EIN:          –

    Number        Street
                                                    Name of accountant or bookkeeper                         Dates business existed


                                                                                                              From                  To

    City                    State   ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                    Date issued



    Name                                           MM / DD / YYYY



    Number        Street




    City                    State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 11
           Case 6:24-bk-13602-SY                     Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                        Desc
                                                     Main Document Page 57 of 70



Part 12: Sign Below

I
  have read the answers on this Statement of Financial Affairs and any attachments, and I declare under           of perjury that the
                                                                                                                                      answers are true
and correct. I understand that making a false statement,concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. SS 152, 1341, 1519, and 3571.




       Isl Saira Yamilet Chevez
      Signature of Saira Yamilet Chevez Debtor 1
                                        ,




      Date 06/06/2024




Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?




 Did you pay or agree to pay someone who is not an attomey to help you fill out bankruptcy forms?



                                                                                                 Attach the Bankruptcy Petition Preparer's Notice,

   ayes. Name of person                                                                          Declaration, and Signature (Official Form 119).
                    Case 6:24-bk-13602-SY                    Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                Desc
                                                             Main Document Page 58 of 70
 Fill in this information to identify your case:

  Debtor 1                  Saira                  Yamilet           Chevez
                           First Name              Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name      Last Name

  United States Bankruptcy Court for the:                    Central District of California

  Case number                                                                                                                    ❑ Check if this is an
  (if known)                                                                                                                          amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                               12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier,
unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the
form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name
and case number (if known).


 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
     Identify the creditor and the property that is collateral           What do you intend to do with the property that secures Did you claim the property as
                                                                         a debt?                                                 exempt on Schedule C?

    Creditor’s                                                           ❑ Surrender the property.                                 ✔ No
                                                                                                                                   ❑
    name:               GM Financial
                                                                         ❑ Retain the property and redeem it.                      ❑ Yes
    Description of
    property
                        2020 Chevrolet Silverado
                                                                         ✔ Retain the property and enter into a
                                                                         ❑
    securing debt:                                                              Reaffirmation Agreement.
                                                                         ❑ Retain the property and [explain]:

    Creditor’s                                                           ❑ Surrender the property.                                 ❑ No
    name:               Honda Financial Services
                                                                         ❑ Retain the property and redeem it.                      ✔ Yes
                                                                                                                                   ❑
    Description of
    property
                        2019 Honca Civic
                                                                         ❑ Retain the property and enter into a
    securing debt:                                                              Reaffirmation Agreement.
                                                                         ✔ Retain the property and [explain]:
                                                                         ❑
                                                                                Continue making the payments




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                         page 1
                 Case 6:24-bk-13602-SY                 Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                   Desc
                                                       Main Document Page 59 of 70
 Debtor 1            Saira              Yamilet               Chevez                                         Case number (if known)
                     First Name         Middle Name            Last Name




         Additional Page for Part 1

    Creditor’s                                                      ❑ Surrender the property.                                   ✔ No
                                                                                                                                ❑
    name:              ALLY
                                                                    ❑ Retain the property and redeem it.                        ❑ Yes
    Description of
    property
                       2024 Chevrolet Trax
                                                                    ✔ Retain the property and enter into a
                                                                    ❑
    securing debt:                                                         Reaffirmation Agreement.
                                                                    ❑ Retain the property and [explain]:

    Creditor’s                                                      ❑ Surrender the property.                                   ✔ No
                                                                                                                                ❑
    name:              VW Credit Inc
                                                                    ❑ Retain the property and redeem it.                        ❑ Yes
    Description of
    property
                       2023 Volkswagen Cross Sport
                                                                    ❑ Retain the property and enter into a
    securing debt:                                                         Reaffirmation Agreement.
                                                                    ✔ Retain the property and [explain]:
                                                                    ❑
                                                                           Continue making the payments

    Creditor’s                                                      ❑ Surrender the property.                                   ❑ No
    name:              COMENITYCB/IDDEAL
                                                                    ❑Retain the property and redeem it.                         ✔ Yes
                                                                                                                                ❑
                                                                    ❑
    Description of     3 Necklaces, 3 Bracelets, Earrings             Retain the property and enter into a
    property
    securing debt:                                                         Reaffirmation Agreement.

                                                                    ❑ Retain the property and [explain]:
                                                                      Continue making the payments




Official Form 108                                 Statement of Intention for Individuals Filing Under Chapter 7                                page 2
                Case 6:24-bk-13602-SY                        Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                    Desc
                                                             Main Document Page 60 of 70

Debtor I               Saira                 Yamilet               Chevez                                       Case number (if known)
                       First Name            Middle Name           Last Name



Part 2: List Your Unexpired Personal Property                 Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the
information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an
unexpired personal property lease if the trustee does not assume it. II U.S.C. S 365(p)(2).

    Describe your unexpired personal property leases                                                                              Will the lease be assumed?

   Lessors name:                    Rene Penate


   Description of leased
   property:                        Monthly Rent Agreement


   Lessors name:


   Description of leased
   property:


   Lessors name:

                                                                                                                                         Yes
   Description of leased
    property:


    Lessors name:

                                                                                                                                  C) Yes
    Description of leased
    property:



    Lessors name:

    Description of leased
    property:


    Lessors name:


    Description of leased
    property:


    Lessors name:


    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
   property that is subject to an unexpired lease.




  x    Is/ Saira Yamilet Chevez

      Signature of Debtor I

      Date      0610612024
                MM/   DDI   YYYY




                                                                                                                                                                  I
Official Form 108                                      Statement Of Intention for Individuals Filing Under Chapter 7                                       page
                    Case 6:24-bk-13602-SY                    Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14 Desc
 Fill in this information to identify your case:             Main Document Page 61 of 70 Check  one box only as directed in this form and in
                                                                                          Form 122A-1Supp:
  Debtor 1                  Saira                  Yamilet             Chevez                                  ✔ 1. There is no presumption of abuse.
                                                                                                               ❑
                           First Name              Middle Name         Last Name
                                                                                                               ❑ 2. The calculation to determine if a presumption
  Debtor 2
                                                                                                                  of abuse applies will be made under Chapter 7
  (Spouse, if filing)      First Name              Middle Name         Last Name                                  Means Test Calculation (Official Form 122A-2).

  United States Bankruptcy Court for the:                    Central District of California                    ❑ 3. The Means Test does not apply now because
                                                                                                                  of qualified military service but it could apply later.
  Case number
  (if known)                                                                                                   ❑ Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or
because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp)
with this form.

 Part 1: Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
     ❑ Not married. Fill out Column A, lines 2-11.
     ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
     ✔ Married and your spouse is NOT filing with you. You and your spouse are:
     ❑
        ✔ Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
        ❑
        ❑ Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
  varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
  example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write
  $0 in the space.

                                                                                                           Column A             Column B
                                                                                                           Debtor 1             Debtor 2 or
                                                                                                                                non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all payroll
    deductions).                                                                                               $2,255.30                       $0.00
 3. Alimony and maintenance payments. Do not include payments from a spouse if Column B
    is filled in.                                                                                                     $0.00                    $0.00
 4. All amounts from any source which are regularly paid for household expenses of you or
    your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and
    roommates. Include regular contributions from a spouse only if Column B is not filled in. Do
    not include payments you listed on line 3.                                                                        $0.00                    $0.00
 5. Net income from operating a business, profession,
                                                                       Debtor 1        Debtor 2
    or farm
     Gross receipts (before all deductions)                                $0.00        $3,122.33

     Ordinary and necessary operating expenses                     -       $0.00   -      $425.52

                                                                                                    Copy
                                                                           $0.00       $2,696.81
     Net monthly income from a business, profession, or farm                                        here
                                                                                                    →                 $0.00               $2,696.81
 6. Net income from rental and other real property                     Debtor 1        Debtor 2
     Gross receipts (before all deductions)                                $0.00            $0.00

     Ordinary and necessary operating expenses                     -       $0.00   -        $0.00

                                                                                                    Copy
                                                                           $0.00           $0.00
     Net monthly income from rental or other real property                                          here
                                                                                                    →                 $0.00                    $0.00
 7. Interest, dividends, and royalties                                                                                $0.00                    $0.00

 Official Form 122A-1                                            Chapter 7 Statement of Your Current Monthly Income                                               page 1
                     Case 6:24-bk-13602-SY                                       Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                               Desc
                           Saira                          Yamilet
Debtor 1
                                                                                 Main Chevez
                                                                                      Document Page 62 of 70 Case number (if known)
                           First Name                     Middle Name                       Last Name
                                                                                                                           Column A                       Column B
                                                                                                                           Debtor 1                       Debtor 2 or
                                                                                                                                                          non-filing spouse
       8. Unemployment compensation                                                                                                        $0.00                           $0.00
           Do not enter the amount if you contend that the amount received was a benefit
           under
           the Social Security Act. Instead, list it here: ..................................................   ↓
           For you....................................................................................          $0.00
           For your spouse......................................................................                $0.00
       9. Pension or retirement income. Do not include any amount received that was a                                                      $0.00                           $0.00
          benefit under the Social Security Act. Also, except as stated in the next sentence,
          do not include any compensation, pension, pay, annuity, or allowance paid by the
          United States Government in connection with a disability, combat-related injury or
          disability, or death of a member of the uniformed services. If you received any
          retired pay paid under chapter 61 of title 10, then include that pay only to the extent
          that it does not exceed the amount of retired pay to which you would otherwise be
          entitled if retired under any provision of title 10 other than chapter 61 of that title.
       10. Income from all other sources not listed above. Specify the source and amount.
           Do not include any benefits received under the Social Security Act; payments
           received as a victim of a war crime, a crime against humanity, or international or
           domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by
           the United States Government in connection with a disability, combat-related
           injury or disability, or death of a member of the uniformed services. If necessary,
           list other sources on a separate page and put the total below.




     Total amounts from separate pages, if any.                                                                            +                               +

       11. Calculate your total current monthly income. Add lines 2 through 10 for                                                  $2,255.30              +        $2,696.81       =    $4,952.11
           each column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                      Total current
                                                                                                                                                                                     monthly income

 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a. Copy your total current monthly income from line 11....................................................................................      Copy line 11 here →               $4,952.11
            Multiply by 12 (the number of months in a year).                                                                                                                            X 12
    12b. The result is your annual income for this part of the form.                                                                                                       12b.      $59,425.32
13. Calculate the median family income that applies to you. Follow these steps:
    Fill in the state in which you live.                                             California

    Fill in the number of people in your household.                                  5

    Fill in the median family income for your state and size of household.................................................................................................... 13.   $138,433.00
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?
         ✔ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
    14a. ❑
           Go to Part 3. Do NOT fill out or file Official Form 122A-2.
    14b. ❑ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
           Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                                  Chapter 7 Statement of Your Current Monthly Income                                                       page 2
                  Case 6:24-bk-13602-SY                     Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                      Desc
                                                            Main Document Page 63 of 70
Debtor I                Saira                Yamilet                 Chevez                                       Case number (if known)
                        First Name           Middle Name             Last Name

Part 3:       Sign Below

     By signing here, I declare under penalty of perjury that the information on this statement and in
                                                                                                         any attachments is true and correct.


    x       Isl
                  Saira Yamilet Chevez
           Signature of Debtor I
           Date 06/06/2024
                   MM/ DDI   YYYY
     If
          you checked line 14a, do NOT fill out or file Form 122A—2.
     If
          you checked line 14b, fill out Form 122A—2 and file it with this form.




Official Form      122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                    page 3
             Case 6:24-bk-13602-SY                                    Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                                           Desc
                                                                      Main Document Page 64 of 70

B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                Central District of California

In re        Chevez , Saira Yamilet

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                       7


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        ✔ FLAT FEE
        ❑
        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $1,800.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $1,800.00

        Balance Due ................................................................................................................................................            $0.00


        ❑ RETAINER
        For legal services, I have agreed to accept and received a retainer of ............................................................................................................................

        The undersigned shall bill against the retainer at an hourly rate of ..................................................................................................................................
        [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved fees and
        expenses exceeding the amount of the retainer.

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;




                                                                                                  Page 1 of 2
           Case 6:24-bk-13602-SY               Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                 Desc
                                               Main Document Page 65 of 70

B2030 (Form 2030) (12/15)


      c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following services:

      Third party fees or any contested or adversary related matters.




                                                              CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                         06/06/2024                                              /s/ Rhonda Walker
                Date                                          Rhonda Walker
                                                              Signature of Attorney
                                                                                               Bar Number: 175108
                                                                                      Rhonda Walker, Attorney at Law
                                                                                         440 E Huntington Drive 300
                                                                                                 Arcadia, CA 91006
                                                                                             Phone: (626) 577-7322

                                                                        Rhonda Walker, Attorney at Law
                                                              Name of law firm




                                                                   Page 2 of 2
           Case 6:24-bk-13602-SY   Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14   Desc
                                   Main Document Page 66 of 70

ALLY
200 Renaissance Ctr
Detroit, MI 48243-1300




AMEX/CBNA
50 Northwest Point Blvd
Elk Grove Vlg, IL 60007-1032




Apoyo Financiero
2300 Clayton Rd Ste 1170
Concord, CA 94520-2100




Best Buy/CBNA
Po Box 15298
Wilmington, DE 19850-5298




Wendy Chevez
1207 1/2 E 28th St
Los Angeles, CA 90011-2197




CITI
5800 S Corporate Pl
Sioux Falls, SD 57108-5027




COMENITYCB/IDDEAL
12921 S Vista Station Blvd
Draper, UT 84020-2376




Yesenia Del Carmen Cruz
Chevez
2303 Lincoln Dr
San Bernardino, CA 92405
           Case 6:24-bk-13602-SY   Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14   Desc
                                   Main Document Page 67 of 70

DR D HARRY D THOMAS JR
DDS
303 S Mcneil St
Burgaw, NC 28425-5015



GM Financial
Po Box 181145
Arlington, TX 76096-1145




Honda Financial Services
Po Box 6070
Cypress, CA 90630-6070




Oportun/Progreso Finan
Po Box 560306 Ste 700
The Colony, TX 75056-0306




Regional Finance
9601 N Tryon St Ste H
Charlotte, NC 28262-8460




Rhonda Walker, Attorney at
Law
440 E Huntington Drive 300
Arcadia, CA 91006



SYNC/AMAZON
410 Terry Ave N
Seattle, WA 98109-5210




SYNCB/TJX COS DC
Po Box 965015
Orlando, FL 32896-5015
            Case 6:24-bk-13602-SY   Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14   Desc
                                    Main Document Page 68 of 70

TD Bank USA/Target Credit
7000 Target Pkwy N
Minneapolis, MN 55445-4301




THD/CBNA
Po Box 7032
Sioux Falls, SD 57117-7032




VW Credit Inc
1401 Franklin Blvd
Libertyville, IL 60048-4460
        Case 6:24-bk-13602-SY                      Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                       Desc
                                                   Main Document Page 69 of 70

                                                    IN THE UNITED STATES BANKRUPTCYCOURT
                                                         CENTRAL DISTRICT OF CALIFORNIA
                                                               RIVERSIDE DIVISION
IN   RE: Chevez Saira Yamilet
                  ,

                                                                                          CASE NO


                                                                                          CHAPTER 7



                                                      VERIFICATION OF CREDITOR MATRIX

     The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


             06/06/2024             Signature                            Is/   Saira Yamilet Chevez
                                                                          Saira Yamilet Chevez   ,
                                                                                                     Debtor
                Case 6:24-bk-13602-SY                             Doc 1 Filed 06/25/24 Entered 06/25/24 15:57:14                                                Desc
                                                                  Main Document Page 70 of 70

                                          STATEMENT OF RELATED CASES
                                       INFORMATION REQUIRED BY LBR 1015-2
                        UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1.     A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or against the debtor, his/her
       spouse, his or her current or former domestic partner, an affiliate of the debtor, any copartnership or joint venture of which debtor is or formerly
       was a general or limited partner, or member, or any corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth
       the complete number and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom assigned,
       whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that was filed with
       any such prior proceeding(s).)




2.     (If petitioneris a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously
       been filed by or against the debtor or an affiliate of the debtor, or a general partner in the debtor, a relative of the general partner, general partner
       of, or person in control of the debtor, partnership in which the debtor is a general partner, general partner of the debtor, or person in control of the
       debtor as follows: (Set forth the complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy
       Judge and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
       included in Schedule A that was filed with any such prior proceeding(s).)


        None

3.      (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
        against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer of the debtor, a person in control of the debtor, a
        partnership in which the debtor is general partner, a general partner of the debtor, a relative of the general partner, director, officer, or person in
        control of the debtor, or any persons, firms or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and
        title of each such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still pending, and
        if not, the disposition thereof. If
                                            none, so indicate. Also, list any real property included in Schedule A that was filed with any such prior
        proceeding(s).)


        None

4.      (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has been filed by or against the
        debtor within the last 180 days: (Set forth the complete number and title of each such prior proceeding, date filed, nature of proceeding, the
        Bankruptcy Judge and court to whom assigned, whether still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real
        property included in Schedule A that was filed with any such prior proceeding(s).)


        None

I declare, under penalty of perjury,   that the foregoing is true and correct.




Executed at               Arcadia                 ,

                                                      Califomia                                      Isl Saira Yamilet Chevez

                                                                                                    Signature of Debtor

Date: 06106/2024

                                                                                                    Signature of Joint Debtor




                           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012
                                                                                                                                           F 1015-2.1 .STMT.RELATED.CASES
